                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 NINA M. HARBAUGH, AS                              CIVIL ACTIO1N
 ADMINISTRATOR OF THE ESTATE OF
 BRITTANY ANN HARBAUGH, DECEASED                   NO. 20-1685
 v.
 BUCKS COUNTY et al

                       REPORT OF FINAL PRETRIAL CONFERENCE

        AND NOW, this 19th day October, 2022, the Court held a final pretrial conference by

telephone on this date. As a result of the conference, it is hereby ORDERED that final pretrial

procedures are as follows:

1.      Jury selection & trial shall take place on Tuesday, January 10, 2023 at 9:30 a.m. in

Courtroom 3A. Counsel shall exchange voir dire questions at least 48 hours prior thereof.

2.      Trial counsel are attached from January 10, 2023 to January 20, 2023.

3.      Parties shall exchange trial exhibits no later than November 4, 2022.

4.      The parties shall also prepare, as appropriate, accurate summaries and/or charts of

evidence pursuant to Federal Rule of Evidence 1006.

5.      Any objections to exhibits shall be served within seven (7) days of receipt, and the parties

shall have discussions to resolve objections. Any unresolved objections shall be submitted to

the Court prior to the start of trial.

6.      The parties shall serve any deposition designations by November 11, 2022 followed by

objections and/or counter-designations within fourteen (14) days.

7.      Motions in limine are due November 18, 2022. Responses are due within fourteen (14)

days.

8.      Points for charge, voir dire questions, and proposed jury verdict forms shall be filed by

December 8, 2022.
                                                                       BY THE COURT:

                                                                       /s/ MICHAEL M. BAYLSON
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                                                                       MICHAEL M. BAYLSON, U.S.D.J.
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